Case 3:21-cv-03006-B-BH Document 17 Filed 01/10/22                       Page 1 of 12 PageID 223



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION
                         _____________________________________


UDUAK NELSON UDOH,

        Plaintiff,

v.                                                      Civil Action No. 3:21-cv-03006-B

MERRICK GARLAND, Attorney General
of the United States, et al.,

        Defendants.

      DEFENDANTS’ ANSWER TO PLAINTIFF’S AMENDED COMPLAINT

        Defendants Merrick Garland, Attorney General of the United States; U.S.

Department of Homeland Security (DHS); Alejandro Mayorkas, Secretary, U.S.

Department of Homeland Security; United States Citizenship and Immigration Services

(USCIS); Ur Jaddou, Director, USCIS; 1 and Kristine Crandall, Acting Director, USCIS

Texas Service Center 2 (hereafter, collectively referred to as “Defendants”), by and

through the United States Attorney for the Northern District of Texas and the

undersigned Assistant United States Attorney, without waiving any defenses or

affirmative defenses to which Defendants may be entitled, file this answer and




1
 Pursuant to Federal Rule of Civil Procedure 25(d), Jaddou is automatically substituted for her
predecessor.
2
 Pursuant to Federal Rule of Civil Procedure 25(d), Crandall is automatically substituted for her
predecessor.



Defendants’ Answer to Plaintiff’s Amended Complaint – Page 1
Case 3:21-cv-03006-B-BH Document 17 Filed 01/10/22               Page 2 of 12 PageID 224



affirmative defenses to the June 28, 2021 amended complaint of Plaintiff Uduak Nelson

Udoh and respectfully show the Court as follows:

       1.      Defendants lack sufficient information to admit or deny the allegations in

paragraph 1 of Plaintiff’s amended complaint. To the extent a response is required,

Defendants deny the allegations in paragraph 1.

       2.      With respect to sub-paragraph 2a, Defendants deny that Kirt Thompson is

the Director of the USCIS Texas Service Center, but admit the remaining allegations of

that sub-paragraph. With respect to sub-paragraphs 2b, 2c, and 2d, Defendants deny that

DHS and USCIS are located at the referenced addresses, but admit the remaining

allegations of those sub-paragraphs. Defendants deny the allegations in sub-paragraph

2e. Defendants admit the allegations in sub-paragraph 2f.

       3.      Paragraph 3 contains Plaintiff’s characterization of the lawsuit to which no

response is required. To the extent a response is required, Defendants deny the

allegations in paragraph 3.

       4.      Defendants admit the allegations in paragraph 4.

       5.      Defendants deny the allegations in paragraph 5.

       6.      With respect to paragraph 6, Defendants admit that “USCIS . . . failed to

approve the waiver for job offer requirement,” but deny the remaining allegations of that

paragraph.

       7.      With respect to paragraph 7, Defendants admit that “USCIS denied

Plaintiff’s application,” but deny the remaining allegations of that paragraph.

       8.      Defendants deny the allegations in paragraph 8.


Defendants’ Answer to Plaintiff’s Amended Complaint – Page 2
Case 3:21-cv-03006-B-BH Document 17 Filed 01/10/22                Page 3 of 12 PageID 225



       9.       Defendants deny the allegations in paragraph 9.

       10.      Defendants deny the allegations in paragraph 10.

       11.      Paragraph 11 contains Plaintiff’s legal conclusions to which no response is

required. To the extent a response is required, Defendants deny the allegations in

paragraph 11.

       12.      Paragraph 12 contains Plaintiff’s legal conclusions to which no response is

required. To the extent a response is required, Defendants deny the allegations in

paragraph 12.

       13.      Paragraph 13 contains Plaintiff’s characterization of himself to which no

response is required. To the extent a response is required, Defendants deny the

allegations in paragraph 13.

       14.      Defendants admit the allegations in the first sentence of paragraph 14. The

second sentence of paragraph 14 contains Plaintiff’s characterization of DHS’s statutory

functions and responsibilities to which no response is required. To the extent a response

is required, Defendants deny the allegations in the second sentence of paragraph 14.

       15.      Defendants admit the allegations in the first sentence of paragraph 15. The

second and third sentences of paragraph 15 contains Plaintiff’s characterization of

Secretary Mayorkas’s responsibilities to which no response is required. To the extent a

response is required, Defendants deny the allegations in the second and third sentences of

paragraph 15. The fourth sentence of paragraph 15 contains Plaintiff’s characterization

of the lawsuit to which no response is required. To the extent a response is required,

Defendants deny the allegations in the fourth sentence of paragraph 15.


Defendants’ Answer to Plaintiff’s Amended Complaint – Page 3
Case 3:21-cv-03006-B-BH Document 17 Filed 01/10/22             Page 4 of 12 PageID 226



       16.     Defendants admit the allegations in paragraph 16, averring that USCIS does

not have exclusive authority for the administration and enforcement of the Immigration

and Nationality Act and all other laws relating to immigration.

       17.     Defendants deny the allegations in the first sentence of paragraph 17. The

second and third sentences of paragraph 17 contain Plaintiff’s characterization of the

USCIS Director’s responsibilities to which no response is required. To the extent a

response is required, Defendants deny the allegations in the second and third sentences of

paragraph 17. The fourth sentence of paragraph 17 contains Plaintiff’s characterization

of the lawsuit to which no response is required. To the extent a response is required,

Defendants deny the allegations in the fourth sentence of paragraph 17.

       18.     The first and second sentences of paragraph 18 contains Plaintiff’s

characterization of the USCIS Texas Service Center Director’s responsibilities to which

no response is required. To the extent a response is required, Defendants deny the

allegations in the first and second sentences of paragraph 18. The third sentence of

paragraph 18 contains Plaintiff’s characterization of the lawsuit to which no response is

required. To the extent a response is required, Defendants deny the allegations in the

third sentence of paragraph 18.

       19.     Defendants admit the allegations in the first sentence of paragraph 19. The

second sentence of paragraph 19 contains Plaintiff’s characterization of the lawsuit to

which no response is required. To the extent a response is required, Defendants deny the

allegations in the second sentence of paragraph 19.




Defendants’ Answer to Plaintiff’s Amended Complaint – Page 4
Case 3:21-cv-03006-B-BH Document 17 Filed 01/10/22              Page 5 of 12 PageID 227



       20.     Paragraph 20 contains Plaintiff’s legal conclusions to which no response is

required. The legal authority cited by Plaintiff speaks for itself. To the extent a response

is required, Defendants deny the allegations in paragraph 20.

       21.     Paragraph 21 contains Plaintiff’s legal conclusions to which no response is

required. The legal authority cited by Plaintiff speaks for itself. To the extent a response

is required, Defendants deny the allegations in paragraph 21.

       22.     Paragraph 22 contains Plaintiff’s legal conclusions to which no response is

required. The legal authority cited by Plaintiff speaks for itself. To the extent a response

is required, Defendants deny the allegations in paragraph 22.

       23.     Paragraph 23 contains Plaintiff’s legal conclusions to which no response is

required. The legal authority cited by Plaintiff speaks for itself. To the extent a response

is required, Defendants deny the allegations in paragraph 23.

       24.     Paragraph 24 contains Plaintiff’s legal conclusions to which no response is

required. The legal authority cited by Plaintiff speaks for itself. To the extent a response

is required, Defendants deny the allegations in paragraph 24.

       25.     Paragraph 25 contains Plaintiff’s legal conclusions to which no response is

required. The legal authority cited by Plaintiff speaks for itself. To the extent a response

is required, Defendants deny the allegations in paragraph 25.

       26.     Paragraph 26 contains Plaintiff’s legal conclusions to which no response is

required. The legal authority cited by Plaintiff speaks for itself. To the extent a response

is required, Defendants deny the allegations in paragraph 26.




Defendants’ Answer to Plaintiff’s Amended Complaint – Page 5
Case 3:21-cv-03006-B-BH Document 17 Filed 01/10/22              Page 6 of 12 PageID 228



       27.     Paragraph 27 contains Plaintiff’s legal conclusions to which no response is

required. The legal authority cited by Plaintiff speaks for itself. To the extent a response

is required, Defendants deny the allegations in paragraph 27.

       28.     Paragraph 28 contains Plaintiff’s legal conclusions to which no response is

required. The legal authority cited by Plaintiff speaks for itself. To the extent a response

is required, Defendants deny the allegations in paragraph 28.

       29.     Defendants admit the allegations in paragraph 29, averring that Exhibit A

speaks for itself.

       30.     Defendants lack sufficient information to admit or deny the allegations in

paragraph 30, averring that Exhibit B speaks for itself. To the extent a response is

required, Defendants deny the allegations in paragraph 30.

       31.     Defendants lack sufficient information to admit or deny the allegations in

paragraph 31, averring that Exhibit C speaks for itself. To the extent a response is

required, Defendants deny the allegations in paragraph 31.

       32.     Defendants deny the allegations in the first sentence of paragraph 32. The

second sentence of paragraph 32 contains Plaintiff’s legal conclusions to which no

response is required. To the extent a response is required, Defendants deny the

allegations in the second sentence of paragraph 32, averring that the cited legal

authorities and Exhibit D speak for themselves.

       33.     With respect to paragraph 33, Defendants admit that USCIS issued a

Request for Evidence on February 5, 2021, averring that Exhibit E speaks for itself.




Defendants’ Answer to Plaintiff’s Amended Complaint – Page 6
Case 3:21-cv-03006-B-BH Document 17 Filed 01/10/22               Page 7 of 12 PageID 229



       34.     With respect to the first sentence of paragraph 34, Defendants admit that

Plaintiff responded to the Request for Evidence, but Defendants deny the remaining

allegations in the first sentence of paragraph 34. With respect to the remaining sentences

of paragraph 34, Defendants aver that Exhibits F, F-1, and H speak for themselves.

       35.     Defendants deny the allegations in paragraph 35.

       36.     Defendants deny the allegations in paragraph 36, averring that Exhibit G

speaks for itself.

       37.     The first sentence of paragraph 37 contains Plaintiff’s legal conclusions to

which no response is required. To the extent a response is required, Defendants deny the

allegations in the first sentence of paragraph 37. Defendants deny the allegations in the

second sentence of paragraph 37. The third and fourth sentences of paragraph 37 purport

to quote letters, which letters are the best evidence of their contents. To the extent a

response is required, Defendants deny the allegations in the third and fourth sentences of

paragraph 37. Defendants deny the allegations in the last sentence of paragraph 37,

averring that Exhibit G speaks for itself.

       38.     Defendants deny the allegations in paragraph 38.

       39.     The first sentence of paragraph 39 contains Plaintiff’s legal conclusions to

which no response is required. To the extent a response is required, Defendants deny the

allegations in the first sentence of paragraph 39. Defendants deny the allegations in the

remaining sentences of paragraph 39, averring that Exhibit H speaks for itself.




Defendants’ Answer to Plaintiff’s Amended Complaint – Page 7
Case 3:21-cv-03006-B-BH Document 17 Filed 01/10/22               Page 8 of 12 PageID 230



       40.      Defendants lack sufficient information to admit or deny the allegations in

paragraph 40. To the extent a response is required, Defendants deny the allegations in

paragraph 40.

       41.      Paragraph 41 purports to quote and summarize letters, which letters are the

best evidence of their contents. To the extent a response is required, Defendants deny the

allegations in paragraph 41, averring that Exhibit G speaks for itself.

       42.      The first sentence of paragraph 42 contains Plaintiff’s legal conclusions to

which no response is required. To the extent a response is required, Defendants deny the

allegations in the first sentence of paragraph 42. Defendants deny the allegations in the

second, third, and fourth sentences of paragraph 42. The remaining sentences of

paragraph 42 purport to characterize articles that Plaintiff submitted to USCIS, which

articles are the best evidence of their contents. To the extent a response is required,

Defendants deny the allegations in the remaining sentences of paragraph 42, averring that

Exhibit H speaks for itself.

       43.      Defendants deny the allegations in paragraph 43, averring that Exhibit I

speaks for itself.

       44.      The first sentence of paragraph 44 purports to quote from USCIS’s

decision, which is the best evidence of its contents. To the extent a response is required,

Defendants deny the allegations in the first sentence of paragraph 44. Defendants deny

the remaining allegations in paragraph 44, averring that Exhibit I speaks for itself.

       45.      Defendants deny the allegations in paragraph 45, averring that the cited

decision by the USCIS Administrative Appeals Office speaks for itself.


Defendants’ Answer to Plaintiff’s Amended Complaint – Page 8
Case 3:21-cv-03006-B-BH Document 17 Filed 01/10/22               Page 9 of 12 PageID 231



       46.     Defendants deny the allegations in paragraph 46.

       47.     Defendants deny the allegations in paragraph 47, averring that the cited

decision speaks for itself.

       48.     Defendants deny the allegations in paragraph 48, averring that the cited

decision speaks for itself.

       49.     Defendants deny the allegations in paragraph 49.

       50.     With respect to paragraph 50, Defendants incorporate their responses to

paragraphs 1–49 as set forth above in their entirety.

       51.     Paragraph 51 contains Plaintiff’s legal conclusions to which no response is

required. The legal authority cited by Plaintiff speaks for itself.

       52.     Paragraph 52 contains Plaintiff’s legal conclusions to which no response is

required. The legal authority cited by Plaintiff speaks for itself.

       53.     Paragraph 53 contains Plaintiff’s legal conclusions to which no response is

required. The legal authority cited by Plaintiff speaks for itself.

       54.     Defendants deny the allegations in paragraph 54.

       55.     Defendants deny the allegations in paragraph 55.

       56.     Defendants deny the allegations in paragraph 56.

       57.     Defendants deny the allegations in paragraph 57.

       58.     Defendants deny the allegations in paragraph 58.

       59.     Defendants deny the allegations in paragraph 59.

       60.     The paragraph that begins with the word “WHEREFORE” and the

subsequent sub-paragraphs A, B, C, D, and E consist of Plaintiff’s requests for relief, to


Defendants’ Answer to Plaintiff’s Amended Complaint – Page 9
Case 3:21-cv-03006-B-BH Document 17 Filed 01/10/22                Page 10 of 12 PageID 232



which no response is required. To the extent a response is required, Defendants deny that

Plaintiff is entitled to any relief whatsoever.

                                          General Denial

       Any allegation contained in Plaintiff’s amended complaint that has not been

specifically and expressly admitted or explained by Defendants herein is hereby denied.

                                      Affirmative Defenses

       As separate and complete defenses hereto, and without waiving any of the above,

Defendants offer the following affirmative defenses:

       1.      To the extent Plaintiff’s amended complaint purports to make allegations

that were not asserted in Plaintiff’s administrative claim(s) that form the basis of this

lawsuit, or for which an administrative claim was not properly and timely filed and

exhausted, any claims relating to such matters are barred.

       2.      Defendants’ actions fully comported with the relevant law and did not

violate the Administrative Procedure Act, the Immigration and Nationality Act, or any

other law.

       3.      Plaintiff has failed to satisfy his burden of establishing that he is eligible for

the benefit requested in his Form I-140 petition filed on February 19, 2020.

       4.      Plaintiff’s amended complaint fails to state a claim upon which relief may

be granted in whole or in part.

       5.      Plaintiff is not entitled to any form of relief, including declaratory or

injunctive relief or relief under the Administrative Procedure Act.




Defendants’ Answer to Plaintiff’s Amended Complaint – Page 10
Case 3:21-cv-03006-B-BH Document 17 Filed 01/10/22                 Page 11 of 12 PageID 233



       6.      Defendants reserve the right to plead all other defenses that may later

become applicable, including but not limited to estoppel, res judicata, statute of

limitations, waiver, and fraud.

                                         Prayer for Relief

       Having fully answered Plaintiff’s amended complaint, Defendants respectfully

request that, after due proceedings be had, judgment be granted in Defendants’ favor

dismissing Plaintiff’s amended complaint with prejudice, with Plaintiff to bear the costs

of defending this litigation, including any attorneys’ fees, and for such other relief to

which Defendants are justly entitled.

                                                       Respectfully submitted,

                                                       CHAD E. MEACHAM
                                                       United States Attorney

                                                       /s/ Lisa R. Hasday
                                                       Lisa R. Hasday
                                                       Assistant United States Attorney
                                                       Texas Bar No. 24075989
                                                       1100 Commerce Street, Third Floor
                                                       Dallas, Texas 75242-1699
                                                       Telephone: 214-659-8737
                                                       Facsimile: 214-659-8807
                                                       lisa.hasday@usdoj.gov

                                                       Attorneys for Defendants




Defendants’ Answer to Plaintiff’s Amended Complaint – Page 11
Case 3:21-cv-03006-B-BH Document 17 Filed 01/10/22                 Page 12 of 12 PageID 234



                                       Certificate of Service

       On January 10, 2022, I electronically submitted the foregoing document with the

Clerk of Court for the U.S. District Court, Northern District of Texas, using the electronic

case filing system of the Court. I hereby certify that I have served all parties

electronically or by another manner authorized by Federal Rule of Civil Procedure

5(b)(2).

                                                       /s/ Lisa R. Hasday
                                                       Lisa R. Hasday
                                                       Assistant United States Attorney




Defendants’ Answer to Plaintiff’s Amended Complaint – Page 12
